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 6   Brandon_Jaroch@fd.org

 7   Attorney for Rafael Velazquez

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                               Case No. 2:20-mj-466-BNW

12                  Plaintiff,                               STIPULATION TO CONTINUE
                                                             BENCH TRIAL
13          v.
                                                             (Second Request)
14   RAFAEL VELAZQUEZ,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Rachel Kent, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Brandon C. Jaroch, Assistant Federal Public Defender, counsel for Rafael Velazquez, that the
21   bench trial currently scheduled on October 21, 2020, at 9:00 AM, be vacated and continued to
22   a date and time convenient to the Court, but no sooner than forty-five (45) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Counsel for the defendant needs additional time to conduct investigation in this
25   case in order to determine whether there are any pretrial issues that must be litigated and
26   whether the case will ultimately go to trial or will be resolved through negotiations.
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 1          2.      The parties agree to the continuance.
 2          3.      The additional time requested herein is not sought for purposes of delay, but
 3   merely to allow counsel for defendant sufficient time within which to be able to effectively
 4   and complete investigation of the discovery materials provided and prepare for trial.
 5          4.      Additionally, denial of this request for continuance could result in a
 6   miscarriage of justice. The additional time requested by this Stipulation is excludable in
 7   computing the time within which the trial herein must commence pursuant to the Speedy Trial
 8   Act, Title 18, United States Code, Section 3161(h)(7)(A), considering the factors under Title
 9   18, United States Code § 3161(h)(7)(B)(iv).
10          This is the second request for a continuance of the bench trial.
11          DATED this 15th day of October, 2020.
12
13
14
15    RENE L. VALLADARES                              NICHOLAS A. TRUTANICH
      Federal Public Defender                         United States Attorney
16
17      /s/ Brandon C. Jaroch                           /s/ Rachel Kent
      By_____________________________                 By_____________________________
18    BRANDON C. JAROCH                               RACHEL KENT
      Assistant Federal Public Defender               Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                               Case No. 2:20-mj-466-BNW
 4
                    Plaintiff,                               FINDINGS OF FACT, CONCLUSIONS
 5                                                           OF LAW AND ORDER
            v.
 6
     RAFAEL VELAZQUEZ,
 7
                    Defendant.
 8
 9
                                         FINDINGS OF FACT
10
11          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

12   Court finds that:

13          1.      Counsel for the defendant needs additional time to conduct investigation in this

14   case in order to determine whether there are any pretrial issues that must be litigated and

15   whether the case will ultimately go to trial or will be resolved through negotiations.

16          2.      The parties agree to the continuance.

17          3.      The additional time requested herein is not sought for purposes of delay, but

18   merely to allow counsel for defendant sufficient time within which to be able to effectively

19   and complete investigation of the discovery materials provided and prepare for trial.

20          4.      Additionally, denial of this request for continuance could result in a

21   miscarriage of justice. The additional time requested by this Stipulation is excludable in

22   computing the time within which the trial herein must commence pursuant to the Speedy Trial

23   Act, Title 18, United States Code, Section 3161(h)(7)(A), considering the factors under Title

24   18, United States Code §§ 3161(h)(7)(B) and 3161(h)(7)(B)(iv).

25          This is the second request for a continuance of the bench trial.

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 1                                     CONCLUSIONS OF LAW

 2          The ends of justice served by granting said continuance outweigh the best interest of the
 3   public and the defendant in a speedy trial, since the failure to grant said continuance would be
 4   likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
 5   opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
 6   account the exercise of due diligence.
 7          The continuance sought herein is excludable under the Speedy Trial Act, Title 18,
 8   United States Code, Section 3161(h)(7)(A), when the considering the facts under Title 18,
 9   United States Code, § 316(h)(7)(B)(iv).
10                                               ORDER

11          IT IS THEREFORE ORDERED that the bench trial currently scheduled on Wednesday,
12   October 21, 2020, at 9:00 a.m., be vacated and continued to ________________
                                                                 12/30/2020 at 9:00atAM.
                                                                                      the hour of
13   ___:___ __.m.
14                     19th day of October, 2020.
            DATED this ____
15
16                                                  UNITED STATES MAGISTRATE JUDGE

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